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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    :
                                            :
              v.                            :
                                            :       Criminal Action No. 1:21-cr-00053 (CJN)
EDWARD JACOB LANG,                          :
                                            :
                      Defendant.            :



                                   SCHEDULING ORDER

       Trial is set to begin in this matter on January 9, 2023 at 9:00 a.m. in Courtroom 19. Jury

selection will begin that day at 9:00 a.m., and will be conducted in accordance with Appendix 8

of the Continuity of Operations Plan for COVID-19, assuming that Appendix 8 remains in force.

The following deadlines shall govern pretrial proceedings:

       1.     By May 27, 2022, Defendant shall make discovery requests of the Government.

       The Government shall have until June 10, 2022 to respond to the Defendant’s discovery

       requests.

       2.     Any motions to compel discovery, along with any pretrial proffer supporting a

       claim of self-defense, shall be filed by June 24, 2022. Oppositions to any such motions

       shall be filed by July 15, 2022. Any reply shall be filed by July 27, 2022.

       3.     The Defendant shall file any motions raising constitutional challenges by June 3,

       2022. Oppositions to any such motions shall be filed by June 24, 2022. Any reply shall

       be filed by July 7, 2022.

       4.      The United States shall notify Defendant of its intention to introduce any Rule

       404(b) evidence not already disclosed by September 9, 2022.



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5.     The parties shall file any motions in limine on or before September 16, 2022.

Oppositions to motions in limine shall be filed by October 7, 2022. Any reply shall be

filed by October 14, 2022.

6.     The defendant shall file any motion seeking a change of venue by September 30,

2022. The United States shall file any opposition by October 14, 2022. Any reply shall

be filed by October 24, 2022.

7.     The United States should endeavor to make grand jury and Jencks Act disclosures

as to each witness it expects to call in its case-in-chief 10 days before commencement of

trial. Any Brady material not already disclosed must be disclosed by this date.

8.     The parties shall also file with the Court no later than November 23, 2022, a Joint

Pretrial Statement that contains:

       A.       A neutral statement of the case.      The Parties shall include a neutral

statement of the case for the Court to read to prospective jurors.

       B.      Proposed voir dire questions. The Parties shall indicate:

               1. The voir dire questions on which the Parties agree; and

               2. The voir dire questions on which the Parties disagree, with specific

objections noted below each disputed question.

       C.      Proposed jury instructions. The Parties shall submit a list of proposed jury

instructions, followed by the text of each proposed instruction, that indicates:

               1. the instructions on which the parties agree, and

               2. the instructions on which the parties disagree, with specific objections

noted below each disputed instruction; and the proposed instruction’s source (e.g., the Red

Book, Matthew Bender’s Federal Jury Instructions), or, for modified or new instructions,



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supporting legal authority (e.g., Joy v. Bell Helicopter Textron, Inc. 999 F.2d 549, 556

(D.C. Cir. 1993)).

Proposed instructions may be updated as needed to reflect the evidence presented at trial.

Absent a showing of good cause, no other modifications will be permitted.

        D.      List of witnesses. The parties shall identify the witnesses that each side

anticipates it may call in its case-in-chief, divided into the following categories:

        1. witnesses who will be called to testify at trial;

        2. witnesses who may be called to testify at trial;

        3. witnesses whose testimony a party will present by deposition or other prior

testimony, indicating whether the presentation will be by transcript or video.

The Court will read the list of witnesses to the jury during voir dire. In the list, each witness

name should be accompanied by a brief description each witness’ expected testimony and

area of expertise, if applicable, followed by specific objections, if any, to each witness.

        E.      Exhibit lists. The Parties shall include a list of trial exhibits (including

demonstratives, summaries, or other specially prepared exhibits), which includes

                1. the exhibit number for each document;

                2. the date of the document;

                3. a brief description of the document;

                4. a concise statement of the asserted basis of admissibility; and

                5. whether there is an objection to admission of the document, and if so, a

concise statement of the basis for the objections.

This list, together with numbered premarked copies of the exhibits, should be submitted to

the Court in a separate binder.



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               F.       Stipulations. The Parties shall submit a draft of all Stipulations.

               G.       Proposed verdict form.        The parties shall include a draft verdict form,

        including any proposed special interrogatories. The draft verdict form should include a

        date and signature line for the jury foreperson.

        9.     The Court will schedule hearings on any motions filed by the Parties as necessary.

        10.    Counsel shall appear on December 15, 2022 at              for a Pretrial Conference in

        Courtroom 19.

        The parties must submit to chambers a printed copy of the Joint Pretrial Statement tabbed

        and in a three-ring binder. The parties must submit an electronic copy of all proposed voir

        dire questions, jury instructions, and verdict forms in Word format by emailing them to

        Chambers at Nichols_Chambers@dcd.uscourts.gov. The jury instructions section must be

        formatted so that each individual jury instruction begins on a new page.

               Failure to comply with this Order will be deemed a waiver of all objections to

        matters covered by this Order.




                                               ________________________________
DATE:                                          CARL J. NICHOLS
                                               United States District Judge




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